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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:                    Judge M. Casey Rodgers
All Cases                                    Magistrate Judge Hope T. Cannon


                                      ORDER

      Pursuant to the Parties’ request, the Eleventh Circuit Court of Appeals dismissed

the appeal in Richard Valle v. 3M Company et al., Appeal Number 22-12796, on May

24, 2024. The Parties now jointly request this Court to vacate its August 16, 2022 All

Writs Act Injunction and Order (ECF No. 3389). See ECF No. 4061. Pursuant to that

request, the Court’s Injunction Order (ECF No. 3389) is hereby VACATED.

      SO ORDERED, on this 24th day of May, 2024.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
